         Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 1 of 42




                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                             :
                       Plaintiff                      :
                                                      :
               v.                                     :       Civil Action No.
                                                      :
                                                      :
THE PENNSYLVANIA STATE                                :
UNIVERSITY                                            :
                                                      :
                       Defendant                      :


                                         COMPLAINT

       John Doe1, a 2nd-year Penn State University (hereinafter “PSU” or the

“University”) Schreyer Honor College student, files this civil rights complaint

seeking to redress the Pennsylvania State University’s violation of his constitutional

right to due process and his Title IX statutory right to equal treatment in the context

of an ongoing sexual assault disciplinary prosecution. Mr. Doe’s lawsuit seeks an

immediate Court order enjoining PSU from re-instituting a University disciplinary

prosecution against him following a prior University Title IX Hearing Panel’s

(“Panel”) determination that his conduct, which largely consisted of “flattering” his

accuser by, for example, texting her that he thought she was “beautiful”, amounted

1
  A Motion for Leave to Proceed Under Pseudonym has been filed contemporaneously with this
Complaint. Additionally, all the exhibits referenced in this Complaint are being filed under seal
due to their contents. Exhibit Z is not referenced in this Complaint, but will be used as a reference
in the Motion for Emergency Temporary Restraining Order and or Preliminary Injunction which
will be contemporaneously filed with this Complaint.
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 2 of 42




to “pressuring” and “cajoling” which “coerced” her into agreeing to have sex. The

prior Panel found Mr. Doe liable for sexually assaulting his accuser and imposed a

one-year suspension and other requirements.

         Weeks later, a PSU appeals officer set the Panel’s determination aside finding

that that they misinterpreted PSU’s “consent” definition and ordered the Office of

Student Conduct (“OSC”) to convene a newly-constituted Panel to preside over a

second attempt to discipline him. On July 16, 2019, just six days before the July 23,

2019 hearing is set to occur, PSU’s Title IX Coordinator provided Mr. Doe a copy

of a new “coercion” definition that explicitly includes “cajoling” as conduct that

negates consent. Moreover, the University retrofitted its existing definition, still in

place for other students, in an attempt to capture the conduct alleged in Mr. Doe’s

case.2

         In this pleading, Mr. Doe alleges that PSU violated, and continues to violate,

his constitutional and statutory rights to a fair, reliable and non-discriminatory

disciplinary process. Specifically, the University’s policies and practices, generally,

and as applied to him specifically, violate his right to due process of law by

prohibiting him from calling witnesses on his own behalf and confronting and cross



2
  On July 16, 2019, Chris Harris notified Plaintiff via email of Penn State’s updated definition of
“coercion,” which redefined “coercion” to mean an “unreasonable amount of pressure to engage
in sexual activity” including “duress, cajoling, compulsion or abuse”. See Exhibit W. However,
PSU’s public and student-facing website, as of July 16, 2019, publishes the prior definition of
coercion that does not mention “cajoling” or “pressuring”. See Exhibit X.


                                                 2
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 3 of 42




examining his accuser and adverse witnesses. The University also failed to provide

Doe with: a fair, unbiased and unconflicted tribunal comprised of individuals who

are separate and apart from, and not under, the auspices of the University’s Office

of Student Conduct “prosecutor”; the presumption of innocence; the active and

meaningful participation of his attorney “advisor”, including their right to cross

examine adverse witnesses; the equal opportunity to review and respond to evidence;

an objective evaluation of all relevant evidence including exculpatory evidence, and;

and the opportunity to respond to evidence before a determination is made. The

University due process violation includes their ad hoc creation of a retrofitted

“consent” definition which denies Doe of his right to advance notice of its sexual

misconduct policy. The University also failed to follow its own policies including,

but not limited to: its prohibition against presenting “new evidence” at a hearing by

allowing the complainant to testify at length regarding facts and circumstances that

were “new” and by simultaneously prohibiting Doe from making timely objections;

OSC’s case managers refusal to apply to the policy’s definition related to her “gate

keeping” function, and; its explicit appeal timing and disposition requirements. The

University also violated Mr. Doe’s statutory Title IX rights because the original

Panel’s erroneous finding resulted in an erroneous outcome resulting from

impermissible gender discrimination.




                                         3
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 4 of 42




      John Doe filed this lawsuit because PSU’s due process and Title IX violations

deprives him of his right to an education, his Penn State degree, sullies his reputation,

jeopardizes his future livelihood, and has caused him significant emotional distress.

Doe is requesting an injunction so that the Court can provide relief to the irreparable

harm the University has and is causing him as a result of an unfair process and delay.

                                      PARTIES

      1.     Plaintiff John Doe is a 19 year-old Penn State Schreyer Honor College

sophomore majoring in Mechanical Engineering at the University Park campus of

the Penn State University.

      2.     Defendant, The Pennsylvania State University (“Penn State”), is an

educational institution established and operated by the Commonwealth of

Pennsylvania with a principal place of business at 201 Old Main, University Park,

Pennsylvania. Penn State operated under color of state law at all times relevant to

this complaint.

                          JURISDICTION AND VENUE

      3.     This Court has jurisdiction over Plaintiff's claims arising under the

United States Constitution and Title IX, pursuant to 42 U.S.C. §§ 1983 and 1988,

and 28 U.S.C. §§ 1331 and 1343.




                                           4
           Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 5 of 42




         4.     This Court has authority to issue the declaratory and injunctive relief

sought in this matter pursuant to 28 U.S.C. §§ 2201 and 2202, 42 U.S.C. § 1983, and

Federal Rules of Civil Procedure 57 and 65.

         5.     This Court has venue for this claim pursuant to 28 U.S.C. § 1391. The

Defendants are residents of the State in which this district is located and a substantial

part of the events or omissions giving rise to the claim occurred in this district.

                                        FACTS

          A.    Penn State Adopts and Pilots an “Investigative Model”

         6.     On April 4, 2011, the Office for Civil Rights (“OCR”) of the U.S.

Department of Education (“ED”) sent a “Dear Colleague Letter” to colleges and

universities (hereinafter referred to as the “Dear Colleague Letter”), including PSU.

The Dear Colleague Letter provides a necessary set of background facts to this

current action.3

         7.     The Dear Colleague Letter advised that, in order to comply with Title

IX, colleges and universities must: institute prompt procedures to investigate and

resolve sexual misconduct complaints and adopt a low “preponderance of the

evidence” burden of proof to resolve sexual misconduct disciplinary complaints.

The Dear Colleague Letter encouraged universities to focus more on victim

advocacy. For example, the Letter ordered the schools to “minimize the burden on


3
    See Exhibit A.


                                            5
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 6 of 42




the complainant,” transferring alleged perpetrators, if necessary, away from shared

courses or housing.

       8.     On September 22, 2017 the U.S. Department of Education issued new

interim guidance on campus sexual misconduct and withdrew the “widely criticized”

2011 Dear Colleague Letter opining that the “withdrawn documents ignored notice

and comment requirements, created a system that lacked basic elements of due

process and failed to ensure fundamental fairness.”4

       9.     On July 2, 2014, less than two months after taking office and in the

wake of the Penn State/Sandusky sexual assault scandal, Penn State University

President Eric Barron announced the formation of a Task Force on Sexual Assault

and Sexual Harassment and charged it with making recommendations that would

allow the University to “become the benchmark by which other universities are

judged when it comes to sexual misconduct prevention and response.” 5

       10.    In its January 23, 2015, final report, the Task Force acknowledged that

the context for its recommendation included:

              A growing national debate about higher education’s
              response to the problem of sexual and relationship
              violence. The White House and Congressional leaders,
              spurred by student activists on college and university
              campuses, convened various groups to discuss the issue.
4
  See Department of Education Issues New Interim Guidance on Campus Sexual Misconduct,
September 22, 2017 (available at https://www.ed.gov/news/press-releases/department-education-
issues-new-interim-guidance-campus-sexual-misconduct).
5
  Exhibit B, Task Force on Sexual Assault and Sexual Harassment Report, January 23, 2015, p.1;
http://www.psu.edu/ur/2014/Task_Force_final_report.pdf, hereafter, the “Report.”


                                              6
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 7 of 42




            Multiple federal guidelines were published. National
            higher education organizations sponsored related
            conversations across the country. The nation’s news media
            increasingly focused their attention to the conflicts inherent
            in the problem. And the Department of Education
            continued to add new schools to its list of those colleges
            and universities under investigation for Title IX
            concerns—a sum that numbered eighty-six by early
            November, many of them among the most notable higher
            education institutions in the country, including Penn State.

      11.   Less than a month later, President Barron adopted each of the Task

Force’s 18 recommendations, including its recommendation that “the student

conduct process at each campus move away from the traditional hearing process and

embrace instead an investigative model for resolving sexual misconduct cases.”

      12.   This “Investigative Model” would rely upon a professional

investigator, rather than a hearing board, to conduct the required fact finding in

sexual misconduct cases.

      13.   According to the Task Force, the Investigative Model would strike a

balance between obtaining fair, accurate outcomes while avoiding the “undue stress

and other harm too often caused by the current hearing model.”

      14.   At the request of Defendant Barron, Danny Shaha, then Penn State’s

Senior Director of the Office of Student Conduct and Deputy Title IX Coordinator,

revised Penn State’s student discipline procedures to comply with the Report’s

recommendations.




                                          7
           Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 8 of 42




         15.     Prior to the inception of the Investigative Model, disciplinary

proceedings addressing sexual misconduct accusations provided the accused with,

among other protections, the right to: a hearing where the parties and witnesses

testified in person before a fact-finder and were subjected to cross-examination and

a “clear and convincing” burden of proof.

         16.     Prior to the inception of the Investigative Model, Penn State’s sexual

misconduct disciplinary process afforded the accused the same type of protections

that students accused of other disciplinary infractions, almost all of which are far

less serious, were provided and still enjoy. Rather than maintain the traditional

policies which afforded a fairer and more reliable investigative and hearing process,

the University implemented its Investigative Model which was designed to favor

student accusers over the accused.

         17.     On November 3, 2016, the U.S. Department of Education announced

that it would levy a historic $2.4 million Cleary Act fine following their review of

the university’s handling of sexual misconduct incidents.

         18.     Although the initial Investigative Model provided for paperless

“hearings” only, the University revised and reissued their Title IX procedures twice

in 2016 and again in 2018. On information and belief, John Doe was prosecuted

under the August 31, 2018, revision of the Code of Conduct (“the Code”6). On


6
    Exhibit C.


                                             8
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 9 of 42




information and belief, the Office of Sexual Misconduct Prevention & Response’s

Student Title IX Report Procedures in place at the time John Doe was investigated

is similar to the procedures currently in place.

    B. Penn State’s Code’s “Special Protocols for Title IX Allegations”

       19.    Penn State’s Office of Student Conduct (“OSC”) is responsible for

administering the University’s discipline system and promulgated the Code of

Conduct to outline the “standard procedures and practices of the University

discipline process.” The Code created special protocols (Section VI, D) for cases

involving Title IX violations.7

       20.    The current Code of Conduct incorporates Penn State’s current Sexual

And/or Gender-Based Harassment and Misconduct Administrative Directive’s

“consent” definition8:

       Consent must be informed, freely given and mutual. If coercion,
       intimidation, threats or physical force are used there is no consent. If a
       person is mentally or physically incapacitated or impaired so that such
       person cannot understand the fact, nature or extent of the sexual
       situation, there is no consent.           This includes impairment or
       incapacitation due to alcohol or drug consumption, or being asleep or
       unconscious, where the respondent knew or reasonably should have
       known that the person was incapacitated. Inducement of incapacitation
       of another with the intent to affect the ability of an individual to consent
       or refuse to consent to sexual contact almost always, if not always,
7
  Id. at pg. 18.
8
  AD85 Sexual And/or Gender-Based Harassment and Misconduct (Including Sexual
Harassment, Sexual Assault, Dating Violence, Domestic Violence, Stalking, and Related
Inappropriate Conduct) (Formerly Discrimination, Harassment.)
https://policy.psu.edu/policies/ad85.



                                              9
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 10 of 42




       negates consent. Silence does not necessarily constitute consent.
       Whether a person has taken advantage of a position of influence over
       an alleged victim may be a factor in determining consent.

       21.     OSC refers all sexual misconduct accusations to the University’s Office

of Sexual Misconduct Prevention and Response (“OSMPR”) which is responsible

for “investigating allegations of Title IX violations.” The OSMPR will “typically

investigate such allegations” using an investigator designated by the Title IX

Coordinator who will attempt to gather “reasonably available” information

regarding the alleged incident.9 This may include interviewing the Complainant,

Respondent, and/or any other witnesses who are identified during the course of the

investigation, as well as gathering available documentary, electronic, or physical

evidence.10

       22.     The University permits the parties to have an “advisor,” defined as any

“person selected by the respondent or complainant to assist and accompany them

through the University conduct process (including Disciplinary Conferences,

Administrative/University Conduct Board Hearings, Sanction Reviews, and formal

Appeals).”11 The University prohibits the advisor from “perform[ing] any function

in the process other than advising the party and may not make a presentation or


9
  The 8/31/18 version of the OSC policy states the “OSMPR will typically investigate such
allegations utilizing the process articulated at http://titleix.psu.edu.” See Exhibit C, 8/31/18 OSC
policy, pg. 18.
10
   Exhibit C, 8/31/18 OSC policy, pg. 18-20; Penn State Student Title IX Report procedures at
http://titleix.psu.edu/psu-title-ix-procedures/.
11
   Exhibit C, 8/31/18 OSC policy, pg. 18, 4.


                                                10
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 11 of 42




represent the party.” 12 The advisor “may not speak on behalf of the advisee” and

the Code requires the “parties…to ask and respond to questions on their own behalf,

without representation by their advisor.”13

       23.     The investigator prepares a “draft Investigative Packet” at the

“conclusion of the investigation” using the “material information gathered during

the investigation,” which does not “contain any findings of responsibility/non-

responsibility.” 14

       24.     The Code requires that the parties be provided with the “opportunity to

meet with the assigned investigator in order to review the draft Investigative Packet,

submit additional information or comments, identify additional witnesses or

evidence for the investigator to pursue, (and to) submit any additional questions that

they believe should be asked of any other party or witness.”15 The investigator

incorporates “any revisions or new information in to a final Investigative Packet

within five (5) business days, if possible. The parties will be provided with an

opportunity to review any new information that is added to the Investigative Packet

before it is finalized.”16




12
   Id. at pg. 4.
13
   Id. at pg. 4-5.
14
   Penn State Student Title IX Report Procedures at http://titleix.psu.edu/psu-title-ix-procedures/.
15
   Id.
16
   Id.


                                                 11
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 12 of 42




         The University gives the investigator the ability to determine the scope of the

investigation, who to interview, what questions to ask, and what information to

include in the packet. The investigator is free to exclude information if s/he

determines that the evidence is not “relevant” or “appropriate”. The investigator

does not report to the parties or the panel the information that s/he excluded from

the packet or the investigation’s purview – let alone why. The investigator decides

what to include or exclude from the Packet; who to interview; how much or how

little to follow-up on leads, and; how to characterize the information he had received.

The investigator is not given the authority to compel a party or witness to engage in

the process or to turn over evidence (such as text messages or medical records) even

if potentially exculpatory. The policy does not give a party the right to challenge the

investigator’s “appropriateness” or “relevance” filters. The evidence is “filtered”

through an investigator with little to no visibility into the guidelines or parameters

guiding his decisions or “cabining his discretion.” 17 In this manner, the University

accords the investigator an unchecked and unreported evidence “funneling” role.


         25.     The investigator forwards the final packet to an OSC “Case Manager”

whose job it is “to recommend charge(s) and sanction(s), to serve as University




17
     Doe v. Pennsylvania State University, 336 F.Supp. 3d 441, 449-450 (M.D.Pa. 2018).


                                                12
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 13 of 42




presenters in [Title IX] hearing(s), and to monitor and mandate the completion of

assigned sanctions.”18

       26.     Pursuant to University policy, the case manager recommends charges

and sanctions if s/he determines that the investigative packet “reasonably supports a

code of conduct violation.” 19 Although the Code contains an extensive “definition”

section, it does not define “reasonably supports.”

       27.     The “plausibility” standard in effect credits only the accusations of the

accuser, who, on information and belief, are overwhelming women, by accepting her

version as true and by discounting or ignoring issues relating to her credibility or

information and evidence favorable to the accused.

       28.     If the respondent contests the charges, the case manager refers the case

and the packet to a Title IX Decision Panel (“Panel”) for a hearing that could result

in sanctions “ranging from Suspension to Expulsion.” The Panel consists of three

University “staff” or “faculty” authorized by, and under the control of, the OSC’s

Senior Director to adjudicate a respondent’s responsibility and sanction.20 The

University provides students facing misconduct charges in far less serious matters

with a five-person panel that includes two students.




18
   Exhibit C, 8/31/18 OSC policy, pg. 5.
19
   Id. at pg. 18. Penn State Student Title IX Report Procedures at http://titleix.psu.edu/psu-title-
ix-procedures/.
20
   Exhibit C, 8/31/18 OSC policy, pg. 6, 19.


                                                 13
         Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 14 of 42




        29.         The Code delegates prosecutorial, adjudicative, and sanctioning roles

to the OSC; the OSC provides the “prosecutor” presenter to a Panel it selects and

that operates under its authority, along with its “pre-hearing” finding that the

investigative report “reasonably supports” a finding that the respondent violated the

Code of Conduct.

        30.         The Code prohibits the parties from calling witnesses during the

hearing, limiting participation to the parties alone and limiting the scope of any

presentation to “highlight[ing] the information that they believe is most relevant to

the hearing authority’s deliberation” and “respond[ing] to questions that may be

posed by the hearing authority and the Investigator, if any.” 21

        31.         Although the complainant and respondent may submit questions to be

posed by the Panel chair to the other party, the Panel will only consider them as a

suggestion. 22 The Panel alone determines what proposed questions it will ask and

will refuse to pose any proposed question that they do not believe to be both

“relevant” and “appropriate.”             The Code does not define “relevance” or

“appropriateness.”23




21
   Id. at pg. 20.
22
   Id.
23
   Id.


                                               14
           Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 15 of 42




          32.     The parties or their advisors may not question, cross examine or

confront the other party. The parties are not permitted to pose follow up questions

to address question responses.

          33.     Once the hearing convenes, “no new information may be provided to

the hearing authority, unless the person offering the information can show that the

evidence was (1) “not available during the investigation;” and, (2) “relevant to

establishing whether or not the Respondent is responsible for misconduct.”24

          34.     If one party is allowed to introduce new information to the hearing

authority, the policy provides that the “the other party [with the] opportunity to

respond.” 25

          35.     Penn State's policies and procedures for adjudicating "Title IX

allegations" limit an accused student's right to be heard in disciplinary proceedings

to the right to be heard only on matters deemed "relevant" and "appropriate" by a

"Title IX Compliance Specialist" and included in the "Investigative Packet," the

exclusive vehicle for factual submissions to the "Title IX Decision Panel." Indeed,

during the “hearing”, the parties are permitted only to “highlight” portions of the

packet.




24
     Id. at pg. 19-20.
25
     Id.


                                            15
         Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 16 of 42




        36.         The Panel must use a “preponderance of the evidence” standard in

determining whether the respondent is responsible for the charged misconduct. 26

        37.         The Panel determines a sanction if it finds the Respondent responsible

for violating the Code of Conduct. The parties are informed in writing of the hearing

authority’s decision and their rights to appeal the decision. 27 The parties are given

five days to file an appeal.

        38.         A responsible student is permitted to appeal on three grounds: (1) the

respondent has been “deprived of their rights and/or stated procedures were not

followed that affected the outcome;” (2) “new evidence is presented, that was not

available during the time of the original outcome, relevant to establishing whether it

is more likely than not that the respondent is responsible for misconduct;” (3) the

sanctions imposed “were outside the University’s sanction range for such violations

and/or not justified by the nature of the offense.” 28

        39.         The Student Conduct Appeals Officer “will review the case records and

any additional information that is submitted as may be requested by the Student

Conduct Appeals Officer. The original decision(s) regarding responsibility and

sanction(s) may be sustained, modified, or reversed.” 29 The Code does not allow for




26
   Id. at pg. 20.
27
   Id.
28
   Id.
29
   Id.


                                               16
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 17 of 42




any decision to be overturned or modified without “consultation with the Vice

President for Student Affairs, Senior Director, or Chancellor.”30

       40.     The Code provides that the Appeals Officer “will typically” issue a

decision within five (5) business days of receiving the appeal request and the

respondent will be notified in writing if applicable. 31

       41.     There is no further avenue for review following disposition of the

appeal.

     C. The Alleged Incident, Roe’s Complaint, and the Investigation

       42.     In the Fall of 2017, John Doe enrolled as an 18-year-old freshman in

the Schreyer’s Honors College. The College awarded him with an Academic

Excellence Scholarship as part of his acceptance to this prestigious program. 32

       43.     During the Spring of 2017, Doe and Jane Roe, who also accepted into

the Schreyer’s Honors College, became acquaintances seeing each other in group

settings at official events such as new student orientation before the official start of

their college experience at Penn State.

       44.     On January 26, 2018, Doe saw Roe in a University computer lab and

they started talking, which quickly turned into mutual flirting. As Roe was leaving




30
   Id.
31
   Id. at 27.
32
   Exhibit D, Acceptance to Schreyer College


                                               17
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 18 of 42




the lab, she put her number in Doe’s phone so that they could continue their flirtation

and texted herself “I LOVE YOU”. 33

       45.     Jane Roe and John Doe continued to send each other flirtatious texts

throughout the day. Later that afternoon, Jane Roe texted Doe asking him if she

could come to his room wearing her “jammies” to “nap” after informing him that

her room had flooded. 34

       46.     Doe agreed, and Roe went to his room and lounged on his bed. Doe’s

roommate was initially present. Roe remained in his room with Doe’s roommate

after Doe left for class. Roe stayed in Doe’s room alone after Doe’s roommate left

for class.35

       47.     Roe remained in Doe’s dorm room until he returned from class. Doe

and Roe sat on Doe’s bed, cuddled, and continued to flirt. They discussed having

sexual intercourse together. Roe asked Doe if he had ever been tested for sexually

transmitted diseases (STDs). Roe informed Doe that she wanted him to be tested.

Doe and Roe discussed their prior sexual experiences and history. Roe disclosed to

Doe that she had sex with five other male partners in the past month following a

break-up. Roe also told Doe that she had recently been accepted into another

University for the Fall of 2018 and, at the time, was likely to transfer.


33
   Exhibit E, Text Messages between Roe and Doe on January 27-28, 2017
34
   Id.
35
   Id.


                                            18
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 19 of 42




          48.    In order to extend their time together, Roe texted her friends to tell them

that she would not be going to dinner with them as planned. Roe and Doe continued

flirting and cuddling in his room. Doe and Roe separated when Doe left to attend a

fraternity function.

          49.    Roe and Doe recommenced their flirtatious texting following the

function. During a text exchange about being “friends with benefits”, Roe texted

Doe that she was not going “fuck [him]” because they could not have sex and remain

friends. Shortly thereafter, she texted it had only been two days since she last had

intercourse and was already “tempted” by him and “I mean c’mon, I can’t fuck 5

guys in one month. That’s probably really bad.”36

          50.    Roe confirmed with Doe that her roommate was not in her room and

texted Doe her dorm room number. Doe arrived at approximately 1 a.m. on January

27, 2018. Roe and Doe sat on Roe’s bed, talked for a little while, and eventually

began to make-out and undress. Roe and Doe engaged in consensual kissing and

fondling.

          51.    In his statement to the Panel, Doe stated that:

                 a. Roe asked him to “finger” her vagina and he complied;

                 b. He immediately stopped when she asked him “how many fingers”

                      he was using and told him that it “hurt”;


36
     See Exhibit E.


                                               19
           Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 20 of 42




                 c. He asked Roe whether he should stay or leave when she went to

                     the bathroom. She told him she wanted him to stay;

                 d. After returning from the bathroom, Roe got him a condom and told

                     him to use it;

          52.    In July 2018, Roe initiated the Penn State Office of Sexual Misconduct

Prevention and Response formal complaint process. 37

          53.    On August 2, 2018, the University notified Doe for the first time that a

complaint, alleging that he “engaged in sexual intercourse and digitally penetrated

[Roe] without consent,” had been filed against him. 38

          54.    Then Investigator Spencer Peters—now the Director of the Office of

Sexual Misconduct Prevention & Response—was tasked with conducting the

University’s investigation.

          55.    After the filing of the complaint and during the investigation, Roe told

the Investigator Peters that Doe performed oral sex on her for a few seconds and that

it would stop when she moved away. Doe agreed that he briefly performed oral sex

on Roe but that it ceased when Roe requested that Doe “finger” her vagina instead.

Roe stated that she asked Doe how many fingers he was using and that he stopped

fingering her when she told him that it hurt.



37
     Exhibit F, August 2, 2018 Notice of Investigation from Investigator Spencer Peters.
38
     Id.


                                                 20
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 21 of 42




       56.     According to Roe, Doe asked her whether he should stay or leave when

she was leaving her dorm room to use the bathroom. She told him to stay, provided

Doe with a condom, and told him to put it on after she returned to her room.

       57.     Roe told the investigator that she positioned herself in front of Doe on

her hands and knees so that they could attempt to have sex in that position.39 Roe

and Doe attempted to have intercourse in that position, but Doe stopped when Roe

indicated that the position was not “working” and it “hurt.” Roe repositioned herself

so that she was straddling Doe as he laid in a supine position. Doe and Roe agreed

that Doe stopped trying to have intercourse with her when he realized that his penis

was not fitting inside her.

       58.     Later that afternoon, Roe texted Doe “[h]ow was the doctor?” which,

on information and belief, referenced their prior communications about STD testing

and specifically, whether he had been tested so they could continue their sexual

relationship.40 Roe continued to send Doe flirtatious texts and told her friends that

she wanted to have sex with Doe again under her “terms.” Doe did not immediately

receive or respond to Roe’s texts because his phone was broken. 41


39
   Roe later altered her account to the OSC Investigator and claimed she tried to get away from
Doe after the initial intercourse attempt. She further claimed that Doe picked her up while Doe
was lying on his back and forced her on top of him placing her in a straddling position. Doe
denied these claims; at no time did Roe indicate that she did not consent and at no time did Doe
use physical force to prevent Roe from extracting herself from the situation.
40
   References to these texts are contained in the Investigative Packet. The university does not
provide the parties with a copy of the investigative file.
41
   Exhibit E, Text messages between Roe and Doe post-alleged incident on January 29, 2018.


                                               21
           Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 22 of 42




      D. The Hearing

          59.      The OSC selected the members of a three-person Title IX Decision

Panel to preside over Doe’s April 12, 2018, hearing. Prior to the hearing, OSC case

manager and Interim OSC Senior Director, Karen Feldbaum, provided the

investigative packet to the Panel and advised them that she had concluded that the

investigation packet “reasonably supported” a finding that Doe had violated the code

of conduct by engaging in nonconsensual sexual intercourse and nonconsensual

digital penetration of Roe.

          60.      On information and belief, Ms. Feldbaum performed her gate-keeping

function using a significantly weaker “plausibility” rather than “reasonably

supports” standard.

          61.      On April 10, 2019, Mr. Doe emailed Ms. Feldbaum a letter outlining

various concerns relating to the University’s Title IX disciplinary process.42 With

respect to his “objections”, Mr. Doe wrote:


                • I am prevented from calling witnesses on my own behalf to
                  provide live testimony before the fact finders. This is especially
                  critical given the "he said/she said" nature of the allegations;
                • I am prevented from confronting and cross-examining my
                  accuser and any adverse witnesses. Again, this is critical given
                  the credibility issues involved in a "he said/she said" allegation;
                • I am prevented from having an adjudicative tribunal comprised
                  of individuals who are separate and apart from, and not under the
                  auspices of, the University's Office of Student Conduct;

42
     Exhibit T, April 10, 2019 Letter Regarding Objections to April 12, 2019 Hearing.


                                                 22
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 23 of 42




            • The process divests me of a presumption of innocence given your
              determination that the evidence "reasonably supports" a
              conclusion that I committed a sexual assault and your decision to
              provide this conclusion to the panel members prior to the
              hearing;
            • The process prevents me from having an advisor that can actively
              and meaningfully participate in this process including, but not
              limited to, conducting cross-examination of the accuser and
              adverse witnesses;

               I also believe that Penn State's policy permitting the investigator
               to act as a funnel in regard to what evidence it presents to you
               and the panel violates Due Process. As you know, Penn State's
               policies gives the investigator unilateral decision-making power
               to determine what information regarding the incident is
               "relevant" and "appropriate". I was unable to find any definition
               of "appropriate" in the policies. Moreover, I have no idea what
               information was given to the investigator and excluded from the
               packet. I also object to the fact that the policy prevents me from
               having an opportunity to ask follow-up questions to my accuser
               after she responds to any questions that panel agrees to provide
               to her.

The University never responded to or addressed Mr. Doe’s objections.

      62.      During the hearing, the Panel Chair cautioned Roe and Doe that no

“new information” could be provided during the hearing and they were only

permitted to “highlight” information contained in the investigative packet.

      63.      Notwithstanding this instruction, the Panel permitted Roe to present

extensive “new” information -- all of which was available during the course of the

investigation. This information included her providing an ad hoc explanation of the

meaning of her texts and prior statements to the investigator in an effort to explain



                                            23
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 24 of 42




unfavorable and contradictory information in the packet. The new evidence also

included testimony that witnesses, who she had not disclosed during the

investigation, would corroborate the new information she was providing.

      64.   By permitting Roe to present “new” evidence during the hearing, the

Panel prevented both Doe and the Investigator from following up on her statements

and corroborating witnesses claim. Moreover, by permitting Roe to present “new”

evidence, the Panel gave her the opportunity to provide additional information not

contained in the packet, which allowed her—uncontrolled and unconstrained—to

explain away weaknesses and inconsistencies in her narrative.

      65.   The Panel chair cut Doe off when he attempted to object to the new

evidence and told him to wait until she was finished with her testimony. The Panel

chair then dismissed Doe’s objection and offered the nonresponsive explanation as

to why he permitted the new evidence: Roe was “sharing her testimony”.

      66.   Following    Roe’s   testimony,   Doe    provided   the   Panel   with

approximately 40 questions that he wanted the Panel to ask of Roe. The Panel agreed

to ask approximately seven. One of the lines of inquiry that the Panel refused to

question Roe about related to statements she made to her medical providers that

directly contradicted evidence in the Packet and which she was permitted to

reconcile by providing new evidence during her testimony.




                                        24
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 25 of 42




       67.   In the late afternoon of Friday, April 12, 2019, Interim OSC Director

Karen Feldbaum informed Mr. Doe that the Decision Panel found Mr. Doe

responsible for violating 2.03 Nonconsensual Intercourse and 2.05 Nonconsensual

Penetration, Digital, or with an Inanimate Object. The sanctions included a conduct

suspension through the end of the Fall 2019 semester, psychological assessments,

and participating in any recommended educational programming related to the

alleged violation.43

     E. The Panel’s Decision, the Title IX Coordinator’s Inquiry into the
        Decision Panel’s Rationale, the Intervention by the Assistant Vice
        President of Student Affair’s Admission, and the Appeal

       68.   On April 22, 2019, Ms. Feldbaum provided Mr. Doe with a copy of the

Title IX Decision Panel Report. 44 The Panel wrote that the “evidence supported

‘coercion’ on the part of the respondent” because Doe “pressu[ed] and cajol[ed] the

complainant” into having sex with him. 45 The Panel found that the sex was

nonconsensual despite Roe’s explicit verbal consent – here is a condom, use it –

because it was the product of Doe’s flattery which, it reasoned, amounted to

“cajoling” and “pressure” which it viewed as impermissible “coercion”. Ultimately,

the Panel determined that Roe “could not provide consent” because “there was




43
   Exhibit H, April 12, 2019 Correspondence from Karen Feldbaum indicating DP found Doe
responsible.
44
   Exhibit I, Title IX Panel Decision Report
45
   Id. at pg. 2.


                                            25
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 26 of 42




coercion.”46 Having so concluded, the Panel never opined on whether it felt that

Doe knew, or should have known, that the sexual contact was nonconsensual.

       69.    On April 26, 2019, Ms. Feldbaum informed Doe that after reviewing

the Panel’s decision, Title IX Coordinator Chris Harris wanted an “opportunity for

conversation with the Panel to clarify some of their findings, prior to taking any

additional steps in our process.”47 The Code of Conduct makes no provision for

such a review.

       70.    On April 26, 2019, Mr. Harris requested that the Panel chair provide

him with clarification regarding the “coercion” finding and an explanation as to why

they concluded that Doe’s “behavior was consistent with that definition.”48 Mr.

Harris asked the chair for clarification regarding whether and why the Panel credited

“the complainant’s contention”.49 Additionally, Mr. Harris asked the Panel to

elaborate on why they determined that the complainant was “credible” and the

“respondent determined to be non-credible.” 50

       71.    The Chair responded by referencing the “texts back-and-forth and the

Respondent’s persistence to go to her room” as evidence that the “the respondent

was being coercive.”



46
   Id. at 3.
47
   Exhibit J, 4/26/19 email from KF RE_Panel Decision Delay email
48
   Exhibit K, April 26, 2019 Correspondence From Chris Harris to Dr. Jamey Perry at pg. 1.
49
   Id.
50
   Id.


                                              26
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 27 of 42




       72.      On April 26, 2019, Ms. Feldbaum informed Doe that the University had

“placed the time frame for receipt of any request for appeal on hold.” 51 Mr. Doe

nonetheless submitted his appeal on April 29, 2019, because PSU’s Code of Conduct

contains no provision permitting the University to place an appeal on hold.

       73.      On May 14, 2019, Mr. Harris informed Doe that he had received

responses to the questions he posed to the Panel and his questions “were not designed

to change the panel’s decision, and their original decision remains unchanged,

pending appeal by one or both parties.”52

       74.      On May 15, 2019, Mr. Harris provided Mr. Doe with a copy of his

memo to the Title IX Decision Panel Chair and the Panel’s response to the two

questions.53 The Chair responded:

             The panel felt that the respondent’s continual flattery (some
             examples: “Haha nah you beautiful” followed by two wink emojis,
             then followed by “I wanna be both” and “You’re beautiful” and I’m
             not that emotional, I could be both” after she clearly stated “Still not
             gonna fuck u, friend” followed by two squinting face with tongue
             emojis and her statement that [hooking up] “ruins friendships,
             constitutes cajoling. The text message thread on pp. 69-73 shows
             that the respondent continued to pressure the complainant, even after
             the lack of desire to hook up had been clearly stated in these text
             messages.

             Likewise, the complainant’s description of the respondent’s
             continual attempts to remove her clothing, his continual pressuring

51
   Exhibit J, April 26, 2019 Email from Karen Feldbaum to Doe.
52
   Exhibit L, May 14, 2019 Email from Chris Harris to Doe.
53
   Exhibit M, May 15, 2019 Email from Chris Harris to Doe; Exhibit N, Decision Panel
Response to Chris Harris’ Memo.


                                              27
           Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 28 of 42




                of her (stopping, then starting up again even after she continued to
                express her lack of desire to engage in the behavior) constitutes
                coercion in that it appears the respondent used pressure and cajoling
                to compel the complainant to choose to allow him to have sex with
                her. Likewise, the complainant stated that “She no longer had the
                guts to keep telling Mr. [Doe] to stop since he just kept going further
                each time and would not listen to her requests.”

                The panel found the complainant more credible, as the complainant
                was able to offer specific details as to the interaction which were
                consistent not only throughout the investigation, but also with the
                text message thread provided. Conversely, the respondent was
                unable to provide nearly any details regarding the incident until such
                time as he reviewed the packet, even though the respondent claimed
                to have not been intoxicated during the encounter. This lack of
                information provided led the panel to believe that the respondent
                may have been more intoxicated than he had indicated, thus harming
                his credibility. 54

The Chair explained that the Panel could not find valid consent where “the actions

of pressuring and cajoling were present . . . .”

          75.      Mr. Harris also provided Doe with a draft Decision Panel report which

suggested that the Panel provided Ms. Feldbaum with the draft and was prepared to

incorporate her suggested “adjustments” or “clarifications”.55 The Code contains no

provision permitting an OSC case manager, the University’s prosecutor, to edit,

modify or provide rationale for, a Panel’s decision.

          76.      On May 23, 2019, Danny Shaha, the Assistant Vice President of

Student Affairs, acting as Ms. Feldbaum’s “designee”, intervened in Doe’s appeals


54
     Exhibit M pgs. 7-8 (internal citations omitted).
55
     Exhibit N at pgs. 4-5.


                                                   28
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 29 of 42




process and requested a review of the decision made by the University Conduct

Board. Specifically, Shaha informed Associate Vice President and Associate Dean

for Undergraduate Education, Dr. Alan Rieck, the OSC-designated appeals officer,

that based upon the “entire investigative packet, the recording of the hearing, the

board report and additional information shared by the board chairperson (provided

in response to questions posed by the University’s Title IX Coordinator), it appears

that, in this case, the board may have misinterpreted the University’s definition and

application of ‘coercion.”56

         77.     Instead of reversing the Decision Panel’s determination which was

based upon a factual record that did not meet the University’s “consent” definition,

Mr. Shaha “formally request[ed] that [Dr. Rieck] refer the case to a new hearing

board” and reassured Dr. Rieck that the OSC and Title IX Coordinator “ will be sure

to clarify the definition of coercion and related concepts to the new hearing board

members.” 57

         78.     Although Mr. Shaha’s letter was dated May 23, 2019, the University

did not provide Mr. Doe with a copy until May 29, 2019. Mr. Doe informed Ms.

Feldbaum on May 30, 2019 that the University’s ongoing delay in adjudicating his




56
     Exhibit P, May 23, 2019 Letter from Shaha to Dr. Rieck
57
     Id.


                                                29
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 30 of 42




appeal was “critical and prejudicial” to him since he had several transfer applications

to other universities pending with looming deadlines.58

       79.    On May 28, 2019, Mr. Doe submitted a second appeal. 59

       80.    On or about June 4, 2019, Mr. Doe submitted a response to Mr. Shaha’s

letter to Dr. Rieck requesting that he reverse the Panel’s finding of responsibility

given that their factual findings were insufficient to meet the University’s burden of

proving that Doe sexually assaulted the Complainant notwithstanding consent.60 Dr.

Rieck did not respond to Mr. Doe’s letter.

       81.    Instead, on June 13, 2019, Dr. Rieck ordered that Roe be given the

opportunity to present her allegations to a new Title IX Decision Board. According

to Dr. Rieck, “[t]he sole grounds for making this judgment is the failure to follow

university procedures, such that the outcome may have been different when a

misinterpretation of the university’s definition of the word ‘coercion’ was used and

applied by the Title IX Decision Board.” 61

       82.    According to the Code of Conduct, an Appeal officer may only

“sustain[], modif[y] or revers[e]” the “original decision(s) regarding responsibility

and sanction(s)”.




58
   Exhibit O, May 29, 2019 Email from Doe to Karen Feldbaum.
59
   Exhibit Q, Doe’s Appeal of the Panel Decision Submitted on May 28, 2019.
60
   Exhibit R, Doe’s Letter to Dr. Rieck in Response to Shaha’s May 23, 2019 request.
61
   Exhibit S, June 13, 2019 Appeal Ruling by Dr. Rieck.


                                              30
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 31 of 42




         83.    By July 5, 2019, email, Ms. Feldbaum informed Mr. Doe that a new

hearing will be scheduled on July 26, 2019. On July 11, 2019, six days later, Ms.

Feldbaum informed Doe that the hearing will be moved up by three days to July 23,

2019. 62

         84.    On July 16, 2019, six days before the second hearing is set to occur, the

Title IX Coordinator provided Mr. Doe with a copy of a new “coercion” definition

that explicitly includes “cajoling” as conduct that negates consent.           The new

“coercion” definition states:

         “Coercion” is an unreasonable amount of pressure to engage in sexual
         activity. Coercion is more than an effort to gain consent, or persuade,
         entice, or attract another person to engage in sexual activity. Coercion
         includes elements of pressure, (e.g., duress, cajoling, compulsion or
         abuse).

         When determining if an individual’s behavior constitutes coercion,
         context is everything. For example, seduction is reasonable, and
         coercion as unreasonable. Seduction is welcomed sexual advances
         that may initially be rebuffed but where the object of the pressure
         ultimately wants to be convinced to engage in sexual activity or
         welcomes the activity, or a reasonable person would perceive it so.

         Coercion, however, is the point where the pressure is or becomes
         objectively unwelcomed and unreasonable, or the point when a person
         concedes to sexual activity due to the use of words or behavior that
         causes or threatens to cause severe emotional distress and/or
         psychological harm.

         It’s important to realize that people negotiate sex all of the time. Some
         amount of pressure may be okay, but too much pressure crosses the
         line and becomes unreasonable.

62
     Exhibit U, July 5 and 11 Emails Scheduling New Hearing.


                                               31
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 32 of 42




         In determining what is an unreasonable amount of pressure, case
         managers, hearing officers, and panels should consider four factors:
         (1) duration (over what period of time is the pressure occurring?), (2)
         frequency (how many times is the pressure occurring?), (3) isolation
         (does the respondent isolate the complainant while pressuring, and
         does that change the dynamic?), and (4) intensity (does the respondent
         move beyond trying to convince the complainant of the respondent’s
         sexual prowess or how badly the respondent wants sex and turn the
         tables on the complainant, attacking the complainant’s values, morals,
         religion?).

         After considering all of the factors noted above, if it is determined that
         the amount of pressure was unreasonable, then coercion was present
         and there was no consent. If, on the other hand, after considering the
         factors noted above, it is determined that the presented pressure does
         not rise to the level of unreasonable, then coercion was not present.63

         85.    Although the University is ordering the Panel to use this new definition,

it continues to publish the original definition on its web site. 64 On information and

belief, the University retrofitted its “consent” definition in an attempt to ensure that

a second panel would find Mr. Doe liable.

         86.    The University’s delay in prosecuting Mr. Doe has severely and

irreparable prejudiced his ability to transfer to other colleges and universities. Mr.

Doe has extremely strong academic credentials including: (1) high school

valedictorian; (2) high school GPA of 4.0; and (3) Penn State GPA for first year of

3.8. By any academic measure, he would be a strong transfer candidate.



63
     See Exhibit W.
64
     See Exhibit X.


                                             32
          Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 33 of 42




         87.     The University’s delay has prevented the Plaintiff from transferring to

another college or university given the timing and ongoing nature of OSC’s

disciplinary process. For example, on July 3, 2019, the University of Miami

rescinded their offer of acceptance. 65 Defendant’s delays through this process has

precluded the Plaintiff accepting an offer in good faith because the disciplinary

action remains open. Mr. Doe’s only open acceptance is to Arizona State University.

Any additional delay at this critical juncture will result in the passing of looming

deadlines and Mr. Doe’s preclusion from transferring.

         88.     The University’s ongoing disciplinary prosecution has resulted in a gap

or lapse in Doe’s education and damages to his reputation.

         89.     Plaintiff was entitled and continues to be entitled to a process

commensurate with the seriousness of the allegation and the potential discipline,

sanctions, and repercussions facing him. The allegations in this case and the ongoing

pendency of this disciplinary process will have lifelong ramifications for the Plaintiff

including time lost in a prestigious program, delays in education or entering the

workforce, and inability to transfer to another university given the ongoing nature of

this disciplinary inquiry.

                                 CLAIMS FOR RELIEF

                                         COUNT I
               Violations of the Fourteenth Amendment and 42 U.S.C. §1983

65
     See Exhibit V.


                                             33
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 34 of 42




       90.    Plaintiff repeats and re-alleges each and every allegation hereinabove

as if fully set forth herein.

       91.    The Fourteenth Amendment to the United States Constitution provides

that no State shall "deprive any person of life, liberty, or property without due

process of law."

       92.    Plaintiff has a property interest protected by the Fourteenth

Amendment in continuing and finishing his education at Penn State University.

       93.    Plaintiff has a liberty interest protected by the Fourteenth Amendment

in continuing and finishing his education at Penn State University.

       94.    The University violated Doe’s right to due process by:

              a. Preventing him from calling witnesses on his own behalf and from

                 confronting and cross examining his accuser and adverse witnesses.

              b. Failing to provide him with a fair, unbiased and unconflicted

                 tribunal comprised of individuals who are separate and apart from,

                 and not under, the auspices of the University’s Office of Student

                 Conduct “prosecutor”;

              c. Failing to accord him the presumption of innocence;




                                         34
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 35 of 42




             d. Denying him the ability to have an advisor that can meaningful

                participate in the proceedings including in the conduct of cross

                examination, and;

             e. Denying him a fair and objective evaluation of all relevant evidence

                including exculpatory evidence, and;

      95.    The University violated Mr. Doe’s due process rights by failing or

refusing to follow its existing disciplinary policies and procedures.

      96.    The University violated Doe’s right to due process by material

changing and retrofitting its consent definition days prior to the second hearing. As

a result, the University failed to provide Doe advance notice that his alleged behavior

constituted a violation of its sexual misconduct policy.

      97.     By amending its definition of consent days prior to the second hearing,

and by refusing to reopen the investigation, the University denied Doe the right to

an investigation informed by this new definition.

      98.    The process due to Doe in the April 12, 2017, disciplinary proceeding

included the right to a standard of proof commensurate with the interests at stake,

namely, proof by clear and convincing evidence. The preponderance-of-evidence

standard of proof employed by the Panel was inadequate especially given the fact

that Ms. Feldbaum’s previously advised them that the evidence "reasonably

supported" that a violation occurred.



                                          35
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 36 of 42




       99.    Defendant’s violation of Doe’s right to due process during the

disciplinary process resulted in an erroneous finding of culpability and his effective

removal 66 from Penn State, causing him to suffer far-reaching and rippling

educational, vocational, reputational, and economic harm.

       100. As a direct and proximate result of the above conduct, John Doe

sustained damages, including, without limitation, emotional distress, loss of

educational and career opportunities, economic injuries and other direct and

consequential damages.



                                       COUNT II
             Violation of Title IX of the Education Amendments of 1972


       101. Plaintiff repeats and realleges each and every allegation hereinabove as

if fully set forth herein.

       102. Title IX of the Education Amendments of 1972 (20 U.S.C. §1681)

(“Title IX”), provides, in relevant part, that:

              No person in the United States shall, on the basis of sex,
              be excluded from participation in, be denied the benefits
              of, or be subjected to discrimination under any education
              program or activity receiving Federal financial
              assistance.
66
  Doe was informed by OSC that if found responsible mid-semester in the spring of 2019, any
sanction—including suspension—would likely take immediate effect. Doe would be unable to
complete the semester and would not have been refunded tuition. Given the significant
educational and financial impact a finding of responsibility would have on Mr. Doe, he withdrew
his spring registration.


                                              36
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 37 of 42




       103. Title IX applies to an entire school or institution if any part of that

school receives federal funds; hence, athletic programs are subject to Title IX. Penn

State is the recipient of significant federal funding.

       104. Upon information and belief, most, if not all students that have been

suspended or expelled from Defendant Penn State for sexual misconduct charges

such as those levied against Doe have been male.

       105. Male respondents in sexual misconduct cases at Defendant Penn State

are discriminated against solely on the basis of sex. They are invariably found guilty,

regardless of the evidence, or lack thereof given the lack of safeguards and

gatekeeping function.

       106. The University violated Title IX based upon the “erroneous outcome”

that occurred in this case because Mr. Doe was innocent and wrongfully found to

have committed sexual assault, and gender bias was a motivating factor.

       107. The denial of due process and the procedural errors made in this case

resulted in an “erroneous outcome” based on a flawed and distorted conception of

the facts.

       108. The investigator failed to explore clear discrepancies in the case such

as statements contained in the medical reports that contradicted statements Roe made

to him during the interview.




                                           37
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 38 of 42




      109. Penn State’s existing practices and procedures discriminate, on the

basis of sex, against the male accused, including Doe. Penn State conducted its

investigation of the allegations against Plaintiff in a manner that was slanted in favor

of the female accusers.     This bias is evident through: (1) a policy based on

affirmative consent that improperly shifts the burden of proof to the accused when

charges are brought forcing the accused to prove that affirmative consent was present

through each and every moment of a sexual interaction; (2) PSU’s policies

containing numerous resources for complainants to utilize both on and off campus

with few resources for respondents who are statistically more likely to be male; and

(3) a single assigned investigator is solely responsible for weighing the probative

value of witness testimony and the relevance of the evidence collected for inclusion

in a final report that will be provided to a case manager using a gatekeeping standard

equivalent to whether a violation is plausible.

      110. Penn State erroneously placed the entire burden on Doe to prove his

innocence, instead of setting forth competent evidence to demonstrate how he

allegedly engaged in nonconsensual sex with Jane Roe.

      111. Penn State’s policies and procedures disproportionately affect the male

population of the Penn State community as a result of the higher incidence of female

complainants of sexual misconduct versus male complainants of sexual misconduct.




                                          38
        Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 39 of 42




       112. Penn State has created an environment in which an accused male

student is effectively denied fundamental due process by being prosecuted through

the conduct process under the cloud of a presumption of guilt. This one-sided

process deprives Plaintiff, as a male student, of educational opportunities at Penn

State on the basis of sex.

       113. Penn State imposed sanctions on Plaintiff without conducting a fair,

impartial investigation and without evidence that he engaged in nonconsensual sex

with Roe. As a result, Plaintiff may face a permanent notation on his Penn State

transcript labeling him a sexual predator, even though he was never given an

opportunity for notice and a fair investigation and hearing.

       114. The totality of the circumstances establish that Defendants acted out of

gender bias in reaching the “erroneous outcome.” Moreover, the Title IX Panel

engaged in gender stereotyping by crediting Complainant’s explanation of texts

despite their plain meeting and discredited the Respondent because he waited to

provide a statement until he could review investigative packet. 67




67
   Specifically, the Panel credited Complainant’s narrative that she was only interested in being
friends and uninterested in sex (i.e., belief that women are incapable of asserting themselves in
sexual situations with male counterparts, women as passive and males as sexual predators, etc.)
despite various anomalies and counterintuitive behaviors and consistently presumed guilt by
respondent. The credibility and responsibility determinations are influenced by outdated and
discriminatory views of male and female roles in heterosexual relationships.


                                                39
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 40 of 42




      115. The totality of circumstances establishes that Defendant Penn State has

demonstrated a pattern of inherent and systematic gender bias and discrimination

against male students accused of misconduct.

      116. In erroneously deciding the Doe engaged in sexual activity in violation

of PSU’s Code of Conduct, the Decision Panel relied on prejudicial assumptions and

failed to apply the requisite preponderance of evidence standard required by both the

University’s own policies and Title IX. At all times, Mr. Doe was deemed guilty.

      117. As a direct and proximate result of the above conduct, Doe sustained

damages, including, without limitation, emotional distress, loss of educational and

career opportunities, economic injuries and other direct and consequential damages.

      118. As a result of the foregoing, John Doe is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements and an injunction enjoining enforcements of the

sanctions as a result of violations of the Title IX process of investigating and

adjudicating sexual misconduct complaints and costs and disbursements.



                            DEMAND FOR RELIEF

WHEREFORE, this Court should:

      (i)    declare, for the foregoing reasons, that Defendants violated Plaintiff's

             Fourteenth Amendment right to due process of law;



                                         40
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 41 of 42




      (ii)    declare, for the foregoing reasons, that Defendants violated Plaintiff's

              statutory Title IX rights to equal treatment;

      (iii)   issue an injunction preventing Penn State from re-prosecuting Doe;

      (iv)    issue an injunction requiring that Penn State retain Plaintiff as a student

              in good standing at Penn State;

      (v)     in the alternative, issue an injunction requiring Penn State to reopen the

              investigation;

      (iv) issue an injunction requiring that the Senior Director of the Office of

              Student Conduct expunge all aspects of Plaintiff's student disciplinary

              file pertaining to the allegations leveled against him by Complainant;

      (v)     award Plaintiff monetary damages, attorney's fees, and costs of suit;

              and

      (vi)    award such further relief as deemed necessary and just by this Court.

July 18, 2019                                   /s/ Andrew J. Shubin
                                                Andrew J. Shubin, Esquire
                                                Pa. Attorney ID No. 63263
                                                333 South Allen Street
                                                State College, PA 16801
                                                (814) 867-3115
                                                (814) 867-8811 fax
                                                shubin@shubinlaw.com

                                                Counsel for Plaintiff,
                                                John Doe




                                           41
       Case 4:19-cv-01234-MWB Document 1 Filed 07/18/19 Page 42 of 42




                UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                      :
                  Plaintiff                    :
                                               :
            v.                                 :     Civil Action No.
                                               :
THE PENNSYLVANIA STATE                         :
UNIVERSITY                                     :
                                               :
                  Defendants                   :


                        CERTIFICATE OF SERVICE

    I, Andrew J. Shubin, do hereby certify that the above parties were served a

true and correct copy of the foregoing Complaint via Federal Express to Attorney

Zahraa Zalzala, Counsel for Defendants.

July 18, 2019                                  /s/ Andrew J. Shubin
                                               Andrew J. Shubin, Esquire
                                               Pa. Attorney ID No. 63263
                                               333 South Allen Street
                                               State College, PA 16801
                                               (814) 867-3115
                                               (814) 867-8811 fax
                                               shubin@shubinlaw.com

                                               Counsel for Plaintiff,
                                               John Doe




                                          42
